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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BILLY EARL,                                  :
     Plaintiff                               :       CIVIL ACTION 1:18-cv-08279
                                             :
               v.                            :       Honorable Charles P. Kocoras
                                             :       Hon. Magistrate Judge
JEWEL FOOD STORES, INC, and                  :       Sheila M. Finnegan
HIGHWAY DRIVERS, DOCKMEN,                    :
SPOTTERS, RAMPMEN, MEAT                      :
PACKING HOUSE, AND ALLIED                    :
PRODUCTS DRIVERS AND                         :
HELPERS, OFFICE WORKERS,                     :
AND MISCELLANEOUS                            :
EMPLOYEES, LOCAL UNION                       :
NO. 710,                                     :
      Defendants                             :

 DEFENDANT HIGHWAY DRIVERS, DOCKMEN, SPOTTERS, RAMPMEN, MEAT
 PACKING HOUSE, AND ALLIED PRODUCTS DRIVERS AND HELPERS, OFFICE
   WORKERS AND MISCELLANEOUS EMPLOYEES, LOCAL UNION NO. 710’S
 MOTION FOR JUDGMENT ON THE PLEADINGS PURSUANT FEDERAL RULE OF
                      CIVIL PROCEDURE 12(c)

       NOW COMES Defendant Highway Drivers, Dockmen, Spotters, Rampmen, Meat

Packing House, and Allied Products Drivers and Helpers, Office Workers and Miscellaneous

Employees, Local Union No. 710 (“Local 710”), by through its undersigned counsel, pursuant to

Federal Rule of Civil Procedure 12(c) for judgment on the pleadings, to dismiss with prejudice

Counts I, III IV, VII, and IX of the amended complaint filed by Plaintiff Billy Earl (“Plaintiff”)

for failure to state a claim for which relief may be granted. In support of this motion, Local 710

avers as follows:

       1.      In his amended complaint, Plaintiff asserts claims against Local 710 for (a) breach

of the duty of fair representation under Section 301 of the Labor Management and Relations Act


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(“LMRA”), 29 U.S.C. § 185, et seq., (Count I); (b) race discrimination and retaliation under 42

U.S.C. § 1981 (Counts III and IV); (c) race discrimination and retaliation under 42 U.S.C. §§

2000e, et seq. (Counts VII and IX). Dkt. No. 35, Amended Complaint.

       2.      Plaintiff’s claims arise from his prior employment with Defendant Jewel Food

Stores, Inc. (“Jewel”) and his membership in Local 710’s bargaining unit.

       3.      Local 710 and Jewel are parties to a collective bargaining agreement (“CBA”)

which provides, among other things, an Attendance Policy which states that an employee shall be

discharged for failing twice within twelve months to call-in an absence from work.

       4.      Jewel terminated Plaintiff’s employment for failing twice in less than twelve

months to call-in his absence. The Local grieved and arbitrated Plaintiff’s termination.

       5.      In his amended complaint, Plaintiff claims that the Local (a) failed to pursue

discrimination claims he allegedly submitted to Local 710; (b) inadequately investigated his

termination grievance; (c) failed to present sufficient testimonial and documentary evidence at

his arbitration hearing thereby causing the arbitrator to deny the grievance; and, (d) failed to

advocate or assist Plaintiff with re-hire to his prior position at Jewel or a substantially-similar

position.

       6.      Plaintiff claims that the Local’s conduct was racially motivated and retaliatory

because he brought discrimination complaints to Local 710’s attention, and because he filed

discrimination and retaliation complaints against the Local.

       7.      In his amended complaint, Plaintiff references the grievances he has filed, cites to

documents he believes should have been submitted at the arbitration hearing, claims that the

arbitration award, which the Local provided to him, was decided incorrectly, that some of the

testimony referenced in the arbitration award is incorrect, and claims that the Local, who



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arbitrated the termination grievance filed on his behalf, failed to advocate for him or otherwise

assist him in getting re-hired by Jewel.

       8.      Federal Rule of Civil Procedure 12(c) provides: “After the pleadings are closed

but within such time as not to delay the trial, any party may move for judgment on the

pleadings.” By order issued April 9, 2019, the Court directed the Local to file its motion by May

3, 2019. Dkt. No. 34.

       9.      The facts, arguments and authorities in support of this motion are sent forth in

Local 710’s memorandum of law, which is being filed contemporaneously with this motion,

along with Local 710’s answer to the amended complaint and its attachments, all of which are

incorporated by reference into this motion as though fully set forth herein.

       WHEREFORE, Defendant Local 710 respectfully requests the Court to grant its motion

for judgment on the pleadings and dismiss Counts I, III, IV, VII, and IX of the amended

complaint with prejudice, and to grant to it any such relief the Court deems just and appropriate.

                                                     Respectfully submitted,

                                                     WILLIG, WILLIAMS & DAVIDSON

                                                      /s/ Linda M. Martin________________
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                                                     Counsel to Teamsters Local 710



Dated: May 3, 2019




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